                      Case
                      Case 4:19-cv-04281-KAW
                           4:19-cv-04281-KAW Document
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                                                        Filed 07/26/19
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      NorthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         California


             UNITED STATES OF AMERICA                              )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 4:19-cv-4281-KAW
                                                                   )
    BTC-e, a/k/a CANTON BUSINESS CORP., and                        )
                ALEXANDER VINNIK                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           BTC-e, a/k/a CANTON BUSINESS CORPORATION




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Kirstin M. Ault, AUSA
                                           U.S. Attorney's Office
                                           450 Golden Gate Avenue, Box 36055
                                           San Francisco, CA 94102


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:             07/26/2019
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      NorthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         California


             UNITED STATES OF AMERICA                              )
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                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 4:19-cv-4281-KAW
                                                                   )
    BTC-e, a/k/a CANTON BUSINESS CORP., and                        )
                ALEXANDER VINNIK                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                                           ALEXANDER VINNIK




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

                                           Kirstin M. Ault, AUSA
                                           U.S. Attorney's Office
                                           450 Golden Gate Avenue, Box 36055
                                           San Francisco, CA 94102

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


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